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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-112-PB

Michael Roux, et al.



                               O R D E R

     Defendant, Justin Rivet, has moved through counsel to

continue the trial scheduled for September 1, 2009, citing newly

appointed counsel and the need for additional time to complete

discovery and prepare for trial.      The government and co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from September 1, 2009 to November 3, 2009.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The August 24, 2009 final pretrial conference is continued

to October 20, 2009 at 4:00 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

August 14, 2009

cc:   Patrick Shanley, Esq.
      Kevin Sharkey, Esq.
      Stanley W. Norkunas, Esq.
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      United States Probation
      United States Marshal




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